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 6                           IN THE UNITED STATES DISTRICT COURT
 7                                   FOR THE DISTRICT OF ARIZONA
 8
 9       Ronald H. Pratte,                              No. CV-19-00239-PHX-GMS
10                     Plaintiff,                       ORDER
11       v.
12       Jeffrey Bardwell, et al.,
13                     Defendants.
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15             Upon review of the Parties’ Stipulated Motion (Doc. 5) requesting permission to
16   defer the exchange of initial MIDP disclosures and for good cause shown,
17             IT IS HEREBY ORDERED granting the Parties’ Stipulated Motion to Defer the
18   exchange of MIDP disclosures.
19             IT IS FURTHER ORDERED the Parties shall file a Notice of Settlement or
20   exchange their initial MIDP disclosures on or before March 13, 2019, thirty days from the
21   date of current required disclosures.
22              IT IS FURTHER ORDERED vacating the Scheduling Conference currently set
23   for March 15, 2019 and reset for April 12, 2019 at 9:30 a.m.1
24             Dated this 12th day of February, 2019.
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       The Scheduling conference will be vacated if the parties file a notice of settlement,
     otherwise the scheduling conference will move forward.
